Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 1 of 20




                                            US V. BROWN
                                            21-CR-609 EX B 1
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 2 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 3 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 4 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 5 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 6 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 7 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 8 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 9 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 10 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 11 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 12 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 13 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 14 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 15 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 16 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 17 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 18 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 19 of 20
Case 1:21-cr-00609-APM Document 64-1 Filed 08/01/24 Page 20 of 20
